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KATHY N'EEDS and STEVE N'EEDS,
Plaintiffs,
v. Case No. 04-2034-Ma

cREATIvE RESTAURANTS, INC.,
d/b/a cREATIvE RESTAURANT
sERvIcEs/RUM BooGIE cAFE, INC.,

Defendant.

JUDGMENT

This action came on for trial before the Court and a jury on
April 18, 2005, the Honorable Samuel H. Mays, Jr., U.S. District
Judge, presiding;

On April 20, 2005, after due deliberation and consideration of
the proof presented, the jury returned a verdict as follows:

That defendant Rum Boogie Café Was negligent and that said
negligence Was a legal cause of Plaintiff Kathy Needs' claimed
injuries and losses.

That plaintiff Kathy Needs was negligent and that said
negligence was a legal cause of Plaintiff Kathy Needs’ claimed
injuries and losses.

That the percentage of fault attributed Was thirty-five (35%)
percent as to plaintiff Kathy Needs and sixty-five (65%) percent as
to defendant Rum Boogie Café.

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That the amount of damages sustained by plaintiff Kathy Needs
is $18,000.00 and the amount of damages sustained by plaintiff
Steve Needs is Zero.

A Satisfaction and Release of Judgment has been duly executed

and filed by Plaintiffs on May 31, 2005, and this case may be
dismissed.

APPRJO}IE? :

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
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Honorable Samuel Mays
US DISTRICT COURT

